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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

GAIL SCOTT,

 

Plaintiff,
vs. No. 1-04-1298-T/An
THE DRESS BARN, INC.,

Defendant.

 

[-PRBHSBB] RULE l6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): JUNE 10, 2005.
(14 days after the scheduling conference)

JOINING PARTIES:

For Plaintiff: JULY 26, 2005 (two months after scheduling conference)

For Defendant: AUGUST 27, 2005 (three months after scheduling eonference)
AMENDED PLEADINGS:l

F or Plaintit`f: JULY 26, 2005 (two months after scheduling conference)

For Defendant: AUGUST 27, 2005 (three months after scheduling conference)

COMPLETING ALL DISCOVERY: DECEMBER 2, 2005.
(6-8 mos. after scheduling conference)

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS FOR
ADMISSIONS: DECEMBER 2, 2005.

(b) EXPERT DISCLOSURES (Rule 26(a)(2)):
(i) Plaintiffs Experts OCTOBER 3, 2005.
(ii) Defendant’s Experts: NOVEMBER 3, 2005.
(iii) Supplementation under Rule 26(e): NOVEMBER 4, 2005.

This document entered on the docket sheet in compliance
with eula ss and:or_?e {a) FacP on w

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(C) DEPOSITIONS OF EXPERTS: DECEMBER 2, 2005 .
FILING DISPOSITIVE MO'I`IONS (3 mos. before tentative trial date]: JANUARY 3, 2006.
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Piainair: FEBRUARY 16, 2006.
(b) for Defendant: MARCH 3, 2006.

Parties Shall have 10 days after service of final lists of witnesses and exhibits to file objections
under Rule 26(a)(3).

The trial of this matter is expected to last three (3) days and is SET for JURY TRIAL on APRIL
3, 2006 at 9:30 A.M. A joint pretrial order is due on MARCH 24, 2006. In the event that the
parties are unable to agree on a joint pretrial order, the parties must notify the court at least ten
days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the responsc, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certiiicate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

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The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause Shown, the scheduling dates set by this Order will not be modified or

extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: _D/l/lf\hl 2.¢" md

Respectfully submitted,

 

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Attomey for Plaintiff

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CV-01298 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

